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                 IN THE U.S. DISTRICT COURT

                  NORTHERN DISTRICT OF OHIO

                       EASTERN DIVISION

                            - - -

   LEWIS CAIRNS, ET AL.,      )

           Plaintiffs,        )

           vs.                ) Case No. 4:15 CV 02442

   TRUMBULL COUNTY BOARD      )

   OF COMMISSIONERS, ET       )

   AL.,                       )

           Defendants.        )

                            - - -

       Deposition of DR. PHILLIP MALVASI, a Witness

herein, called by the Plaintiffs for cross-examination

pursuant to the Ohio Rules of Civil Procedure, taken

before me, the undersigned, Grace D'Andrea, a court

reporter and Notary Public in and for the State of Ohio,

at the Offices of Simoni Court Reporting, 153 Pine NE,

Warren, Ohio, on Monday, the 5th day of December, 2016,

at 1:00 o'clock p.m.

 ------------------------------------------------
                 SIMONI COURT REPORTING
                 WARREN/YOUNGSTOWN, OHIO
             (330) 399-1400    (330)746-0934




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APPEARANCES:

On Behalf of the Plaintiffs:

       Offices of Gilbert W. R. Rucker, III, Esquire

By:    Gilbert W. R. Rucker, III, Attorney at Law
       135 Pine SE, Suite 203
       Warren, OH 44481

On Behalf of the Defendants:

       Dickie McCamey, Attorneys at Law

By:    Leah M. Hohenberger, Attorney at Law
       600 Superior Avenue East, Suite 2330
       Cleveland, OH 44114

                           - - -




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Dr. Malvasi      Cross                Mr. Rucker             5

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                         E X H I B I T S
PLAINTIFF'S

1 - Proposal
2 - Standards for Jails in Ohio
3 - Letter dated 9/11/13 to Sheriff Thomas Altiere from
    Joel M. Commins, State Jail Inspector
4 - Policy for Benzodiazepines
5 - Policy for withdrawals
6 - Clinical opiate withdrawal scale
7 - Opiate withdrawal guidelines
8 - Opiate withdrawal protocol
9 - Jail incident report
10 - Trumbull County Sheriff's Office communication
11 - Trumbull County Jail shift report
12 - Trumbull County Jail Shift report
13 - Inmate personal medication list
14 - Physicians order form
15 - Narrative supplement
16 - Doctor sick call list

                              - - -

                            Reported and Transcribed by:
                            Grace D'Andrea, Court Reporter




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                     STIPULATIONS

       It is stipulated and agreed by and between
counsel for the parties hereto that this deposition may
be taken at this time, 1:00 p.m., at the offices of
Simoni Court Reporting, Cleveland, Ohio, without the
usual Notice to Take Deposition having been served,
service of the same being waived.
       It is further stipulated and agreed that the
deposition may be written in stenotype by Grace
D'Andrea, a Notary Public within and for the State of
Ohio, and a Certified Stenotype Reporter, and by her
transcribed; that the transcript be made available to
the witness for signature, that the witness shall read
the same and subscribe thereto, and that the deposition
may thereupon be used on behalf of the Plaintiffs in the
aforesaid cause of action.

                       *   *   *




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 1   WHEREUPON,

 2                       DR. PHILLIP MALVASI,

 3   of lawful age, having been by me first duly sworn to

 4   testify the truth, the whole truth, and nothing but the

 5   truth, as hereinafter certified, deposes and says as

 6   follows:

 7   CROSS EXAMINATION

 8   By Mr. Rucker

 9    Q           Dr. Malvasi, my name is Gilbert Rucker.

10    We've had occasion to meet before; is that correct?

11    A           Correct.

12    Q           And you know why --

13                MR. RUCKER:   Strike that.   Let me get my

14    mind together.

15    Q           We're here to take your deposition in the

16    case captioned Lewis Cairns, et al. Versus Trumbull

17    County in which you're a named Defendant.

18    A           Correct.

19    Q           You're aware of that?   Okay.   You've had

20    depositions before?

21    A           Yes.

22    Q           And you're aware that you have to say "yes"

23    or "no" and not body language in order to allow the

24    court reporter to take your statement?

25    A           Yes.




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 1   Q           You're familiar if you have a need to speak

 2   with your attorney or go to the rest room, all you

 3   need to do is ask and that will be granted?

 4   A           Yes.

 5   Q           And that I would only ask that I be allowed

 6   to finish my question before we interrupt for any

 7   reason --

 8   A           Yes.

 9   Q           -- is that correct?   Okay.   Dr. Malvasi, can

10   you state your full name and spell your last name for

11   the Court?

12   A           Phillip Malvasi, M-a-l-v-a-s-i.

13   Q           And, Dr. Malvasi, what is your profession?

14   A           Osteopathic physician.

15   Q           How long have you been an osteopathic

16   physician?

17   A           Since 1997.

18   Q           And where did you go to school?

19   A           University of New England.

20   Q           When did you graduate from school?

21   A           '97.

22   Q           Okay.   After graduation, what was your first

23   job?

24   A           Private practice.

25   Q           Okay.   And how long have you been in private




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 1   practice?

 2   A           Since 2000.

 3   Q           Okay.   And in that period of private

 4   practice, have you acted as a subcontractor to any

 5   government agencies?

 6   A           Yes.

 7   Q           And what government agencies have you acted

 8   as --

 9   A           Trumbull County Sheriff's Department.

10   Q           Okay.   And how long have you been a

11   subcontractor of the Trumbull County jail?

12   A           Around 2000, 2001.

13   Q           And how did you obtain that position?

14   A           Professional bid.

15   Q           And did you submit a bid package?

16   A           Yes.

17   Q           Okay.   Have you ever been a subcontractor

18   for any other agencies, either public or private?

19   A           Yes.

20   Q           And what other agencies are those?

21   A           ODRC and CCA.

22   Q           Okay.   When did you work for ODRC?

23   A           I believe it was -- I can't tell you for

24   sure.

25   Q           Okay.   I mean, you can just give me a




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 1   roundabout.

 2   A        2006, 2007.

 3   Q        And what were your duties with ODRC?

 4   A        Medical director.

 5   Q        When you say "medical director," what would

 6   be the duties of the medical director?

 7   A        Care and treatment of inmates in a

 8   correctional setting.

 9   Q        Okay.     And who would you report to at ODRC

10   as medical director?

11   A        The state medical director.

12   Q        Okay.     Did you have total responsibility for

13   the care and treatment of the inmates?

14   A        Yes.

15   Q        And when did you work for CCA?

16   A        1997 -- or 1999 until it closed.

17   Q        Okay.     When did it close?

18   A        2003, 2004.

19   Q        And what was your title there?

20   A        Medical director.

21   Q        You had indicated that you graduated from

22   medical school in 1997; is that correct?

23   A        Uh-huh.

24            MS. HOHENBERGER:     You have to say "yes"

25   or --




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 1   A        Yes.

 2   Q        And in 1999, you were a medical director at

 3   CCA?

 4   A        Yes.

 5   Q        And the two years between your graduation

 6   and you obtaining the position as medical director at

 7   CCA, you were in private practice?

 8   A        No.

 9   Q        Where were you?

10   A        Residency.

11   Q        Where was your residency?

12   A        Humility of Mary.

13   Q        And where was --

14   A        Internship and residency at St. Joe's, St.

15   Elizabeth's in Cleveland and Youngstown, Ohio.

16   Q        Okay.   And what was your residency?

17   A        Family medicine.

18   Q        Family medicine?

19   A        Yes.

20   Q        Okay.   Have you ever had any training in

21   correctional medicine?

22   A        No.

23   Q        After leaving ODRC, you indicated that you

24   were with the sheriff's department from 2000 or 2001?

25   A        Yes.




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 1   Q        So, you were with the sheriff's department

 2   at the same time you were with ODRC?

 3   A        Yes.

 4   Q        And what was your title at Trumbull County

 5   Sheriff's Department?

 6   A        Medical director.

 7            (Whereupon, a recess was taken. )

 8   Q        During the period of time of 2000, 2001 --

 9   since 2000 or 2001, you were the medical director at

10   Trumbull County jail?

11   A        (Witness nods head affirmatively.)

12   Q        From the period of 1999 to 2003, you were

13   medical director at CCA?

14   A        (Witness nods head affirmatively.)

15            MS. HOHENBERGER:    You have to answer.

16   A        Yes.

17   Q        And at the same time, did you also maintain

18   a private practice?

19   A        Yes.

20   Q        And where was your private practice?

21   A        1017 Youngstown-Cleveland Road, Niles, Ohio.

22   Q        And you started that practice upon

23   graduation?

24   A        Yes.

25   Q        And has that practice -- have you maintained




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 1   that practice since graduation?

 2   A         Yes.

 3   Q         To this day?

 4   A         Yes.

 5   Q         And to this day, is that a -- are you

 6   self-employed, or are you a corporation?

 7   A         A sole proprietor.

 8   Q         You're a sole proprietor?

 9   A         Uh-huh.

10   Q         Have you ever been an LLC?

11   A         Yes.

12   Q         When were you -- when did you become an LLC?

13   A         2004, 2005.

14   Q         Are you still an LLC?

15   A         Yes.

16   Q         And what was the name of that LLC?

17   A         Correctional Health Care.

18   Q         And where --

19             MS. HOHENBERGER:     I'm sorry.   Just so we're

20   clear:   Are you talking about his private practice or

21   whether he has an LLC period, for something else?

22             MR. RUCKER:    Right now, I'm just asking

23   whether he has an LLC period, but I'm getting ready

24   to --

25             MS. HOHENBERGER:     All right.




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 1            MR. RUCKER:     I'm getting ready to ask that.

 2   Q        Where does -- what is the function of the

 3   LLC, Correctional Health Care?

 4   A        To separate it from my private practice.

 5   Q        Okay.     What type of services does it engage

 6   in?

 7   A        Correctional health care.

 8   Q        Is it in contractual relationship with

 9   Trumbull County?

10   A        Yes.

11   Q        And what type of contractual relationship?

12   A        I'm the sole member of it.

13   Q        You have a contract with Trumbull County

14   Commissioners under your LLC?

15   A        Under me as a sole member --

16   Q        As a sole member --

17   A        -- Phillip Malvasi, being a sole member of

18   Correctional Health Care,.

19            MR. RUCKER:     Okay.     I may not be being

20   clear, then.

21            MS. HOHENBERGER:        And I'm just going to

22   object from a legal standpoint.       Obviously, he's not

23   a lawyer, so --

24            MR. RUCKER:     Yeah.     Yeah, well --

25   Q        Did you sign a contract in 2001 with




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 1   Trumbull County Commissioners for medical services?

 2   A         Yes.

 3   Q         And under what entity did you sign that

 4   agreement?

 5   A         Me as a sole proprietor.

 6   Q         You as a sole proprietor.   At any time has

 7   that agreement been changed to reflect Correctional

 8   Health Care, LLC?

 9   A         No.

10   Q         So, as we sit here today, you're still under

11   contract with Trumbull County jail; is that correct?

12   A         Correct.

13   Q         And that contract is between Trumbull County

14   Commissioners and Phillip Malvasi?

15   A         Correct.

16   Q         Have you ever practiced emergency medicine?

17   A         Yes.

18   Q         And where did you receive the training in

19   regards to emergency medicine?

20   A         Through my residency program.

21   Q         Have you ever dealt with drug withdrawals in

22   your private practice?

23   A         Yes.

24   Q         Have you dealt with drug withdrawals as in

25   your correctional practice?




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 1   A           Yes.

 2   Q           In regards to your correctional practice,

 3   did you review or study texts or treatises in order

 4   to stay abreast of development in correctional

 5   medicine?

 6   A           Through conferences and medical literature.

 7   Q           So, you have attended conferences?

 8   A           Conferences, yeah, and medical -- and

 9   literature on correctional health care and

10   corrections today and certified by the NCCHC as a

11   practicing physician in corrections.

12   Q           When did you receive that certification?

13   A           2012 or '13.

14   Q           And what did it take to receive that

15   certification?

16   A           A certificate -- it's a board certification

17   from the -- you had to go to the conference and sit

18   for a four-hour test.

19   Q           Were there any mandated classes that you had

20   to receive?

21   A           There was -- no.

22   Q           Okay.   How did you prepare for the test?

23   A           Studied their literature on correctional

24   health care policies and procedures.

25   Q           Okay.   You had indicated that you'd gone to




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 1   conferences.     What was the last conference you

 2   attended on correctional medicine?

 3   A        I think the time that I was certified.

 4   Q        That's when you took the four-hour test?

 5   A        Uh-huh.

 6            MS. HOHENBERGER:     You have to say "yes."

 7   A        That was the last conference that I attended

 8   on correctional health care.

 9   Q        And had you attended any other conferences

10   prior to that?

11   A        On corrections?

12   Q        Correctional medicine.

13   A        Yes.

14   Q        And what were those conferences?

15   A        There was one or two in California, probably

16   in the late '90s; I think it was San Diego.       And I

17   think another one in 2003 or 2005.

18   Q        Okay.     Were you given certificates?

19   A        Of participation or --

20   Q        Of participation.

21   A        I think the only participation certificate I

22   have is that I was certified by NCCHC in 2012 or

23   2013.

24   Q        The other -- you said you've attended, you

25   believe, two other conferences other than this one?




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 1   A           Uh-huh, prior.

 2               MS. HOHENBERGER:     You're saying "yes"?   I'm

 3   sorry you're saying "uh-huh" and "huh-uh."

 4   A           Yes.

 5   Q           Okay.     And what was the subject matter that

 6   was covered in those?

 7   A           All related to correctional medicine:

 8   Security, pharmacy, psych issues.

 9   Q           So, would I be correct in saying that they

10   covered a general --

11   A           Yes.

12   Q           -- broad, general curriculum?

13   A           Yes.

14   Q           Is Trumbull County jail an accredited jail?

15   A           No.     Through NCCHC?

16   Q           Uh-huh.

17   A           No.

18   Q           As medical director of Trumbull County jail,

19   what are your specific duties?

20   A           Care of inmates.

21   Q           Okay.     Are you responsible for all medical

22   care --

23   A           Yes.

24   Q           -- of the inmates, all treatment of the

25   inmates?




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 1   A         Yes.

 2   Q         So, the sheriff has no responsibility in

 3   regards to the medical care or treatment of inmates;

 4   is that correct?

 5             MS. HOHENBERGER:    Objection.

 6   A         Yes.

 7   Q         The staffing at the Trumbull County jail, in

 8   regards to the medical department, are they your

 9   employees?

10   A         Yes.

11   Q         Okay.    And you pay them?

12   A         Yes.

13   Q         They are not paid as a result of the county?

14   A         Correct.

15   Q         You hire them?

16   A         Yes.

17   Q         And it is your responsibility to fire them

18   or discipline them for any infractions that they may

19   have or may occur as in regards to their duties at

20   the Trumbull County jail?

21   A         Correct.

22   Q         The employees at the Trumbull County jail in

23   2014, were they medical assistants?

24   A         I believe so.

25   Q         Okay.    And what is the difference between a




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 1   medical assistant and an LPN?

 2   A           An LPN's training, I think, is an extra

 3   year, and medical assistants are not allowed to push

 4   IV medications.

 5   Q           Okay.   Do you have any -- during 2014, did

 6   you have any employees that were staffing the medical

 7   department at Trumbull County jail that were not

 8   medical assistants?

 9   A           I think I might have had a -- I'm not sure.

10   I might have had an EMT or a paramedic at one time in

11   the 2013/2015 time frame.

12   Q           Okay.   But you had no RNs; is that correct?

13   A           No, no RNs.    I've never had any RN down

14   there.

15   Q           And no LPNs?

16   A           I have an LPN down there.

17   Q           During 2014?

18   A           I'd have to look back.    I don't know off the

19   top of my head.

20   Q           You are responsible for the hiring of the

21   staff --

22   A           Correct.

23   Q           -- is that correct?

24   A           (Witness nods head affirmatively.)

25   Q           And in hiring the staff, you would check




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 1   their credentials; is that correct?

 2   A        Correct.

 3   Q        You're aware medical assistants are not

 4   licensed; is that correct?

 5            MS. HOHENBERGER:    Objection.

 6   A        They're licensed through the state --

 7   Q        Okay.   You believe --

 8   A        -- medical assistants program.

 9   Q        You believe that medical assistants are not

10   unlicensed health care professionals?

11            MS. HOHENBERGER:    Objection.

12   A        I'm not sure if I understand the question.

13   Q        Okay.   Are medical assistants licensed by

14   the State of Ohio?

15   A        They're licensed, but I don't know if

16   they're licensed from the State of Ohio.

17   Q        An LPN, is an LPN licensed by the State of

18   Ohio?

19   A        Yes.

20   Q        Okay.   Did you have to submit a proposal in

21   regards to your bid to become medical director at

22   Trumbull County jail?

23   A        Yes.

24            (Whereupon, Plaintiff's Exhibit No. 1 was

25   marked for identification by the court reporter.)




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 1   Q           Doctor, I'm showing you what's been marked

 2   as Plaintiff's Exhibit 1, if you could review that?

 3   A           (Witness complies.)

 4               MS. HOHENBERGER:    It looks like this is from

 5   a prior case?

 6               MR. RUCKER:   Yeah, it is.

 7               MS. HOHENBERGER:    Just note my objection to

 8   the extent that it may or may not be complete, or

 9   we've not even seen it before, so --

10   Q           Have you had a chance to review Exhibit 1,

11   Doctor?

12   A           Yes.

13   Q           Do you recognize that?

14   A           Yes.

15   Q           Is that the proposal that you submitted to

16   the Trumbull County Commissioners when you submitted

17   a bid?

18   A           Yes.

19               MS. HOHENBERGER:    Just note my objection.

20   There's no particular date on here, so --

21   Q           Doctor, if you could go to page 11.

22   A           (Witness complies.)

23               Okay.

24   Q           Okay.   Do you recognize your signature on

25   page 11?




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 1   A        Yes.

 2   Q        And that -- the notary date is the 29th of

 3   December 2008?

 4   A        Correct.

 5   Q        To the best of your knowledge, would that be

 6   a correct date that you signed this?

 7   A        Yes.

 8   Q        And, Doctor, on page -- what indicates page

 9   111 that's stamped on there, not the actual document

10   page number --

11   A        Okay.

12   Q        -- it says that you are a board certified

13   family practitioner and also a certified correction

14   physician by the American Correctional Association?

15   A        Yes.

16   Q        Is that the same as that NCCHC?

17   A        No.

18   Q        Okay.   And what is the American Correctional

19   Association?

20   A        That's a different correctional based

21   association that I was a member of.

22   Q        Are you no longer a member of that

23   association?

24   A        I still am.

25   Q        You still are?




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 1   A          Uh-huh.

 2              MS. HOHENBERGER:    Yes?

 3   A          Yes.

 4   Q          Do you recall when you became a member of

 5   that association?

 6   A          No.

 7   Q          If you would go to page 4.

 8   A          (Witness complies.)

 9   Q          The actual document-numbered page 4.

10   A          Okay.

11   Q          And where it states "Specification and

12   Proposal Blank, General Conditions Applicable To All

13   Items."

14   A          Yes.

15   Q          And that page lists the services that you --

16   A          Yes.

17   Q          -- you were to provide?

18   A          Yes.

19   Q          Does it list it in its entirety, or did your

20   scope of duties exceed what's listed here?

21              MS. HOHENBERGER:    Objection.   In terms of

22   the proposal or the ultimate contract or --

23              MR. RUCKER:   No, the ultimate contract,

24   did -- his duties under the ultimate contract.

25              MS. HOHENBERGER:    Objection.




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 1            MR. RUCKER:   I should say -- strike that?

 2   A        I don't know what you mean.

 3            MR. RUCKER:   Okay.     Strike that.

 4   Q        Your duties that you performed as a medical

 5   director, did they exceed these items listed on page

 6   4?

 7   A        Yes.

 8   Q        Okay.   It says that "the physician or

 9   medical corporation shall maintain complete and

10   accurate records of all care, treatment and

11   examinations of inmates at the facility and shall

12   prepare and submit all required reports."

13            Did you perform those duties --

14   A        Yes.

15   Q        -- under this contract?

16   A        Yes.

17            MS. HOHENBERGER:      Objection.   This isn't a

18   contract; it's a proposal.

19            MR. RUCKER:   I'm sorry, this proposal.

20   Q        Did you perform those duties --

21   A        Yes.

22   Q        -- as medical director?

23            Were you available for examination of

24   inmates on a 24-hour basis at the medical facility?

25   A        Yes.




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 1   Q           Seven days a week?

 2   A           Yes.

 3               MS. HOHENBERGER:     Make sure you let him

 4   finish his question too so you guys aren't talking

 5   over each other.    It makes Grace's job a little

 6   easier.

 7   Q           Doctor, are you familiar with the Ohio

 8   minimum standards of jail --

 9   A           Yes.

10   Q           -- in the State of Ohio?     What are they?

11   What are those --

12               MR. RUCKER:   I shouldn't say -- strike that.

13   Q           What is your understanding that the minimum

14   standards of jails in Ohio constitutes?       Are they

15   what govern your practice as a medical director in

16   the jail?

17   A           Yes.

18   Q           Do they set standards that you have

19   to follow --

20   A           Yes.

21   Q           -- in the jail?

22               And during the year 2014, were you following

23   those standards?

24   A           Yes.

25               MR. RUCKER:   Now, I have excerpted out of




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 1   the book, the minimum standards.   I have the entire

 2   document here -- we can go off the record.

 3            (Whereupon, a recess was taken, and

 4   Plaintiff's Exhibit No. 2 was marked for

 5   identification by the court reporter.)

 6   Q        Doctor, let me give you what's been marked

 7   as Exhibit 2.

 8   A        (Witness complies.)

 9   Q        If you can review that?

10   A        (Witness complies.)

11   Q        Have you had a chance to review it?

12   A        Yes.

13   Q        And do you recognize that document?

14   A        Yes.

15   Q        And how is it that you know that document?

16   A        It's in the minimal standards of the ODRC.

17   Q        And have you had to review that document as

18   a result of your -- not employment, by your

19   contractual obligation with the Trumbull County

20   Commissioners?

21   A        Occasionally.

22   Q        When you say "occasionally," on what

23   occasions would you have to review that document?

24   A        When we have our inspections.

25   Q        Okay.   And how often do you have




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 1   inspections?

 2   A         Every year.

 3   Q         Do you participate in those inspections?

 4   A         No.

 5   Q         Who does participate in those inspections on

 6   behalf of the medical department?

 7   A         Whoever is on staff that day.

 8   Q         Okay.   You're talking about the medical

 9   staff?

10   A         (Witness nods head affirmatively.)

11             MS. HOHENBERGER:    Yes?

12   A         Yes, the medical staff.     Whenever they do

13   their walkthrough with medical.

14   Q         And that would be one of the medical

15   assistants; is that correct?

16             MS. HOHENBERGER:    Objection.

17   A         I don't know.

18             MS. HOHENBERGER:    When are we talking about?

19   Q         He's only had -- during 2014 or 2013, you

20   had medical assistants on your staff?

21   A         Yes.

22   Q         And you don't know if you had any LPNs; is

23   that correct?

24   A         No.

25   Q         Is that "no," that's not correct, or --




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 1   A        No, I don't recall.     I don't know.

 2   Q        Okay.    You don't recall, but you know you

 3   had no registered nurses; is that correct?

 4   A        No.     I said I don't know if -- from when I

 5   had the contract, I had LPNs or medical assistants on

 6   staff at all times.    At that particular time, I don't

 7   know unless I could go back to a payroll or something

 8   to see if they were medical assistants or an LPN.

 9   Q        Okay.    But whoever was on medical staff,

10   whatever the records show --

11   A        Whoever was there when the state came in the

12   last -- since I had the contract on a yearly basis,

13   whoever was there in medical took them through

14   medical, either an LPN or a medical assistant.

15   Q        Okay.    And would they report the results to

16   you?

17   A        No.

18   Q        And how would you become aware of the

19   results of the inspection?

20   A        I usually wouldn't.

21   Q        You would not be become aware of the results

22   of the inspection?

23   A        No.

24   Q        Okay.    So, you would never be in a place

25   where you would correct any deficiencies on the




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 1   report; is that correct?

 2               MS. HOHENBERGER:      Objection.

 3   A           I'm not sure what you're --

 4   Q           If there was a deficiency noted in the

 5   inspection, would that come to your attention?

 6   A           Yes.

 7   Q           And how would that come to your attention?

 8   A           By the jail administrator.

 9   Q           By the jail and --

10   A           We never get a copy of the jail inspection

11   after it's done.

12               MR. RUCKER:   Okay.

13               (Whereupon, Plaintiff's Exhibit No. 3 was

14   marked for identification by the court reporter.)

15   Q           If I could get you to look at Exhibit 3?

16   A           (Witness complies.)

17               MS. HOHENBERGER:      Just note my objection to

18   the document since it's dated September 11th, 2013.

19   Q           Have you had a chance to review that

20   document?

21   A           Yes.

22   Q           Have you ever seen that document before?

23   A           No.

24   Q           Did you ever have a meeting with the jail

25   administrator in regards to deficiencies noted in




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 1   that document?

 2   A           No.

 3   Q           If you can go to the second page of that

 4   document where it says 5120:        1-8-09, letter O?

 5   A           Okay.

 6   Q           Were you aware that that was a noted

 7   deficiency in that inspection?

 8               MS. HOHENBERGER:      Objection.

 9   A           No.

10   Q           Did you take any action to correct that

11   deficiency?

12               MS. HOHENBERGER:      Objection.

13   A           No.

14               MR. RUCKER:   All right.     Thank you.

15               MS. HOHENBERGER:      If you could just note my

16   objection, again, based on the date, based on the

17   fact that Dr. Malvasi never received it and didn't

18   know the content at any point.

19   Q           Doctor, if I could get you to go back to

20   Exhibit 2 --

21   A           (Witness complies.)

22   Q           -- to item 1-8-09 (F) in the medical

23   portion?

24   A           5120:   1-8-, what?

25   Q           F.




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 1   A           After the 8, what's the letter?

 2   Q           9.

 3   A           9?     Okay.

 4   Q           In F, it states "essential;" is that

 5   correct?

 6   A           Yes.

 7   Q           Are you familiar with the significance of

 8   the categories essential --

 9   A           Yes.

10   Q           Okay.     And what does that mean to you?

11               MS. HOHENBERGER:     I'm going to object

12   because it's defined in the document elsewhere.

13   Q           Okay.     And what does that mean to you?

14               MS. HOHENBERGER:     To him?

15               MR. RUCKER:     Yes, to him.

16   A           Essential sick call.

17   Q           That it's essential?

18   A           That it's needed.

19   Q           That it's needed.       That's your -- would I be

20   correct to state that you're required to perform sick

21   call?

22   A           Correct.

23               MS. HOHENBERGER:     Note my objection based on

24   the definition that's in the document.

25   Q           And if I could see the document for one




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 1   second, Doctor?

 2   A        (Witness complies.)

 3   Q        Okay.     Here you are.   Looking at F dealing

 4   with sick calls.    It indicates that, in number 1,

 5   "once per week for jails with an average daily

 6   population of less than 50."

 7            Trumbull County jail is clearly more than

 8   50; is that correct?

 9   A        Yes.

10   Q        And what was the number of prisoners in 2014

11   to the best of your recollection?     Did it exceed 200?

12   A        Yes.

13   Q        So, if we're looking at F-3, it indicates

14   that you're required to do sick call five times per

15   week for jails with an average daily population of

16   200 or more; is that correct?

17   A        Yes.

18   Q        And did you comply with that requirement?

19   A        Yes.

20   Q        And would there be records of you complying

21   with that requirement?

22   A        Yes.

23   Q        And what would those records be?

24   A        Where would they be?

25   Q        What would be they, first?      What records




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 1   would there be that document that you met that

 2   requirement?

 3   A        Through the sheriff's department.

 4   Q        Okay.   And what specific documents through

 5   the sheriff's department?

 6   A        Medical sick call book, medical notes that

 7   were of the inmates that were seen.

 8   Q        Now, would that be a sheriff's department

 9   record, or would that be a medical department record?

10   A        Medical department, but they're held at the

11   sheriff's department.

12   Q        When you say they're held at the sheriff's

13   department, are they held within the medical

14   department portion of the sheriff's --

15   A        Yes.

16   Q        -- of the jail; is what you're saying?      But

17   those records would be maintained by the medical

18   department --

19   A        Yes.

20   Q        -- is that correct?

21            MS. HOHENBERGER:    Did you say 2014, is that

22   what we're talking about?

23            MR. RUCKER:    Well, right now I'm just

24   talking about general procedure.

25            MS. HOHENBERGER:    Okay.




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 1   Q        That as you conducted sick call in

 2   accordance with -- well, this would be 2014 because

 3   this is revised 2014?

 4   A        Yes.

 5   Q        So, in April 2014, I believe.        So, in --

 6            MS. HOHENBERGER:     May, I think.

 7   Q        Since May of 2014, you would have maintained

 8   records that show that you were in compliance with

 9   that standard; is that correct?

10   A        Yes.

11   Q        And those records would be reflected in sick

12   call records?

13   A        Yes.

14   Q        Okay.     And --

15   A        When the inmates are seen.

16   Q        When the inmates are seen?

17   A        Uh-huh.

18   Q        And those records are maintained in the

19   medical department?

20   A        Yes, sometimes five times, six times, eight

21   times, ten times a week.

22   Q        Okay.     So, you would come in more than once

23   a day if required?

24   A        Very often.

25   Q        Okay.     And what would -- were your sick




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 1   calls scheduled, or were they as-needed basis?

 2   A        Scheduled.

 3   Q        And who schedules your sick calls?

 4   A        The medical assistants.

 5   Q        And what was the criteria upon which they

 6   would base scheduling your sick call?

 7   A        If an inmate put in a sick call slip to be

 8   seen.

 9   Q        Okay.    If an inmate did not put in a sick

10   call slip to be seen, would you still do sick call?

11   A        On that inmate?

12   Q        No.     Would you still come to the jail?

13   A        Yes.

14   Q        Even if no one was scheduled for sick call?

15   A        Yes.

16   Q        And what would be your purpose in coming if

17   no one scheduled sick call?

18   A        Usually meet with the assistant warden.

19   Q        And what kind of discussions would you and

20   the assistant warden have?

21   A        Or just go in and sign charts.     There'd

22   always be -- there's always something.

23   Q        Something to do?

24   A        Yeah.    A lot of times, there's not anybody

25   on the sick call, but there's always charts to be




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 1   signed, medications to be looked at.

 2   Q           Okay.   What is the procedure for sick call,

 3   for an inmate to get on the sick call list?

 4   A           They fill out a -- when they're booked in,

 5   they're given a pack with -- of policies and

 6   procedures from the sheriff's department.        If they

 7   need to see a medical request or medical evaluation,

 8   they sign up, and they give it to the medical

 9   assistant.    Then, they review it and put them on my

10   list.

11               It could be -- and it depends.     There's so

12   many different ones to review, but they make the

13   determination.      If somebody just wants Tylenol or

14   somebody want to be on the dental list, then, they

15   put them on the dental list.        Or if they want to see

16   me, then, they put them on my list.

17   Q           In the case of an inmate who would not know

18   that he needs to be on a sick call list, but does

19   need to be on the sick call list --

20   A           They all know.

21   Q           Huh?

22   A           They all know of how to get ahold of

23   medical.

24   Q           Okay.   If an inmate is delusional, going

25   through withdrawal, for example, and was not in his




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 1   right mind, how would he get on your sick call list?

 2               MS. HOHENBERGER:     Note my objection to the

 3   question.    It's a hypothetical.

 4   A           The officers would recognize that and let

 5   medical know.

 6   Q           Okay.     And once they let medical know, what

 7   would happen?

 8   A           Then, they'd contact me.

 9   Q           Medical would contact you?

10   A           Uh-huh.

11               MS. HOHENBERGER:     Yes?   Sorry.   If you say

12   "huh-uh," "huh-uh," that doesn't --

13   Q           Okay.     And has your staff been trained to

14   contact you if the jail staff brings an inmate to

15   them who's delusional or having hallucinations?

16   A           Are you talking somebody in particular, or

17   are you just talking overall?

18   Q           No.     Just, generally -- your general

19   procedure.    If the jail staff brings someone to the

20   medical department who is experiencing delusions,

21   hallucinations and comes to the medical department

22   and says "something is wrong with this guy" or woman,

23   is your staff trained to take some type of action

24   based on that?

25   A           They do their evaluation on them, and, then,




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 1   if need be, they contact me.

 2   Q        Okay.   And what would their evaluation

 3   consist of?

 4   A        You have to realize that in the correctional

 5   setting that 90 percent of the people coming in are

 6   under the influence or delusional or drunk or

 7   intoxicated or on drugs.     So, that's -- that's a part

 8   where they have to filter out if they're coming off

 9   of something, if they're using drugs or if they're

10   coming off of alcohol.     So, there's a whole protocol

11   that they follow under -- if they deem somebody to be

12   delusional.

13   Q        Okay.   And what would be that protocol?

14   A        We have written policies and procedures for

15   that.

16   Q        Okay.   As a hypothetical, you have an innate

17   who's delusional, hallucinating --

18   A        I don't like hypotheticals.

19   Q        Okay.   I can appreciate that.    I don't like

20   them either, but we have to deal with them.     And

21   just, generally speaking, if an inmate was brought

22   down to medical department that was delusional and

23   hallucinating, what would be the procedure that the

24   medical staff would take?

25   A        They'd evaluate him.




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 1   Q         Okay.    And what would that evaluation

 2   consist of?

 3   A         Direct visualization of the person, seeing

 4   if their evaluation of them may mix with what they're

 5   being told from the officer.

 6   Q         So, you say, visualization, you mean their

 7   personal observance --

 8   A         Right.

 9   Q         -- of him?    Would you expect that they would

10   take vitals?

11   A         Vital signs, yes.

12   Q         Have you trained them to take vitals?

13   A         Yes.

14   Q         So, if they did not take vitals, then, they

15   didn't operate in the training that you gave them; is

16   that correct?

17   A

18             MS. HOHENBERGER:    Objection.

19   A         It's part of our policies and procedures for

20   them to do vital signs.

21   Q         Okay.    So, after they did the visualization

22   and personal observance, and they took vitals, would

23   that be enough for them to determine whether or not

24   the inmate is suffering from some type of medical

25   condition?




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 1            MS. HOHENBERGER:     Just note my objection.     I

 2   think he already testified that there was policy and

 3   procedure that is followed.

 4   Q        So, the policy and procedure that you say is

 5   followed is their visualization; is that correct?

 6   A        That's all under individual -- their

 7   individual training.   If they deem necessary to call

 8   me, they can always call me.

 9   Q        Oh, so, they make the determination as to

10   whether or not it's necessary to call you?

11            MS. HOHENBERGER:     Objection.

12   A        With their medical profession.

13   Q        With their medical profession.     And, so, is

14   it that same medical profession that they would use

15   to determine whether or not that person should be on

16   the sick call list?

17   A        Yes.

18   Q        Okay.   Do you develop the policy and

19   procedures as to what drugs are allowed into the

20   jail?

21   A        Policies and procedures?

22   Q        Yes.    Or the prohibitions of certain drugs.

23   Like, Xanax, is that a prohibited drug?

24   A        No.

25   Q        There's no policy that prohibits Xanax?




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 1   A           We don't prohibit it.        We wean you off of it

 2   if you're on it and substitute it for a non-scheduled

 3   narcotic.

 4   Q           Okay.     When you say "wean you off of it,"

 5   what do you mean by that?

 6   A           Taper the dose.

 7   Q           Okay.     And you said taper the dose?

 8   A           Uh-huh.

 9               MS. HOHENBERGER:     Yes?

10   A           Yes.

11   Q           So, would you keep him on Xanax?

12   A           Yes.

13               MS. HOHENBERGER:     Just note my objection to

14   the extent that we are talking about written policies

15   and procedures, as I think he said.          I'm just going

16   to object that we're not talking about looking at the

17   actual document.

18               MR. RUCKER:     We're getting ready to look at

19   the actual document.

20               MS. HOHENBERGER:     Okay.    All right.

21               (Whereupon, Plaintiff's Exhibit No. 4 was

22   marked for identification by the court reporter.)

23   Q           Doctor, what's been handed to you has been

24   marked as Exhibit No. 4.

25   A           Okay.




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 1   Q        Do you recognize this policy?

 2   A        Yes.

 3   Q        And is this a policy that you instituted?

 4   A        Yes.

 5   Q        Okay.   And you indicate here that you do not

 6   give Benzos in this facility unless approved by the

 7   doctor; is that correct?

 8   A        Correct.

 9   Q        Okay.   And, so, absent --

10            MR. RUCKER:    Strike that.

11   Q        Your next one says inmates must be weaned

12   off, and you're talking about weaned off of whatever

13   Benzo they may be on?

14   A        Correct.

15   Q        Okay.   So, absent you being notified by your

16   staff that someone is being weaned off -- someone is

17   on a Benzo, you would not be in a position to give

18   that approval; is that correct?

19            MS. HOHENBERGER:    Objection.

20   A        I'm not sure if I understand.

21   Q        If someone -- if an inmate is on Xanax --

22   A        Okay.

23   Q        -- and he's in the jail, and let's assume

24   that you don't know he's on Xanax, or your staff

25   doesn't know, but he exhibits withdrawals.   If you




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 1   don't know -- if they don't call you and tell you

 2   that you have an inmate exhibiting certain symptoms,

 3   you would not be in the position of approving them

 4   being given a Benzo; is that correct?

 5   A        I would know when they got booked in when

 6   they list their medications that they're on.

 7   Q        Okay.   But the medication wasn't listed.

 8   A        For what reason?

 9   Q        Inmate may have not thought about it, or the

10   correction officers may have forgotten about it, not

11   wrote it down; there's a myriad of reasons.    But if

12   you did not know --

13   A        If I did not know somebody was on Benzos, I

14   have no way to wean them off of it.

15   Q        You would, then, have no way?

16   A        Correct.

17   Q        And you would have to approve them being

18   weaned off of it; is that correct?

19   A        Yes.

20   Q        A medical assistant is not allowed to

21   administer a Benzo; is that correct?

22            MS. HOHENBERGER:    Objection.

23   A        Yes.

24   Q        They can administer?

25   A        They can administer any medication.




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 1   Q           They can administer any medication?

 2   A           Uh-huh.

 3   Q           Are your staff trained to recognize a Benzo

 4   withdrawal?

 5   A           Through their training.

 6   Q           When you say "their training," what

 7   training, specifically, are you referring to?

 8   A           Through their educational experience.

 9   Q           You have not personally trained them to

10   recognize Benzo withdrawals; is that correct?

11   A           No.

12   Q           Is that "no," you have not?

13   A           I have not, other than our policies and

14   procedures.

15               MR. RUCKER:   Okay.   Can we take a break for

16   a second?

17               (Whereupon, a recess was taken, and the last

18   question and answer was read back by the court

19   reporter.)

20   Q           So, Doctor, you have not personally trained

21   your medical staff in regards to recognition of a

22   Benzo withdrawal yourself; is that correct?

23   A           Myself -- they're trained through their 80

24   hours of training down there to recognize withdrawals

25   off of street drugs, Benzos, prescription medication.




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 1   But, myself, no, I do not train them.

 2   Q        Okay.

 3   A        They're trained through their training,

 4   through their 80 hours of on-the-job training to

 5   recognize the withdrawals of different medications.

 6   Q        Okay.    And you indicated that you did not do

 7   that training; is that correct?

 8   A        No.

 9   Q        Who did it in 2014?

10   A        Whoever was the senior medical assistant or

11   LPN on the staff.   They would train with each

12   individual on different shifts to learn the protocol

13   for different shifts of what needed to be done.

14   Q        Okay.    Would there be any evidence of that

15   specific training to recognize Benzo withdrawal?

16   A        Part of our policies and procedures that

17   they have, yes.

18   Q        I mean, would there be a sign-off sheet?

19   A        Yes.

20   Q        And that sign-off sheet would indicate that

21   they received training in recognition of withdrawal?

22   A        Right.

23   Q        And where would those records be maintained?

24   A        At the county in the medical department.

25   Q        In the medical department?




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 1   A        Uh-huh.

 2            MR. RUCKER:    Okay.     I would ask --

 3            MS. HOHENBERGER:       Yes?

 4   A        Yes.

 5            MR. RUCKER:    I would ask that you would get

 6   those records to your attorney so that they can be

 7   provided to me.

 8            MS. HOHENBERGER:       And I'm going to note that

 9   they've already been produced.         So, as part of their

10   personnel records, they've all been produced.           Their

11   training, 80 hours of training that they've received.

12   So, if you're asking if there's a specific document

13   that says, "I saw this Benzo sheet, this Benzo

14   policy," that doesn't exist.      So, they were all

15   trained 80 hours, and that was documented and noted.

16   But you've gotten everything that exists with respect

17   to their personnel files and what the policies and

18   procedures are, and they've all testified about what

19   they were trained on.

20            MR. RUCKER:    Okay.     What I specifically

21   asked the Doctor was:   Did they sign off that they

22   received special, specific training in regards to the

23   recognition of, or withdrawal from Benzo?

24            I didn't ask him if he has shown them

25   policies and procedures.    I asked if they had




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 1   received specific training, and he indicated that

 2   they had.    I said were they signed off?      And he

 3   indicated that they had.

 4               Now, I don't have anything that evidences

 5   that in their personnel records.     He indicates that

 6   those records are maintained in the medical

 7   department, and, if so, then, I'd like to see them,

 8   specifically those that I just questioned him about.

 9               MS. HOHENBERGER:   Maybe there's

10   miscommunication about what we're talking about,

11   and --

12               MR. RUCKER:   I mean, I can be confusing at

13   times, but this is not one of those times that I

14   believe that I'm being confusing.

15               MS. HOHENBERGER:   Do you understand the

16   question?

17   A           I understand that under the 80 hours of

18   training, that all this is brought up with alcohol

19   withdrawal, Benzos withdrawal, that all these

20   procedures are evaluated, and they're part of the

21   policies and procedures that they evaluate, and they

22   look at, and they get a copy of, and they look at

23   them in medical.    So, when they do their 80 hours,

24   they're trained, in those 80 hours, to go over all

25   those.




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 1   Q           Okay.

 2   A           But I do not have a piece of paper that

 3   shows this, and everybody's signature that they saw

 4   this.   This is all part of the policies and

 5   procedures.

 6   Q           Okay.

 7   A           Part of their 80 hours of training.

 8   Q           Okay.     When I say "training," I'm not

 9   talking about just you show them a sheet of paper, or

10   Exhibit 4, and say that you're now trained on

11   recognition.    I'm talking about that you actually go

12   through the symptoms, what the symptoms are, what the

13   vitals would evidence.       If they took the vital signs,

14   that the vital signs would evidence this or that,

15   just like you do in your alcohol protocols, you know,

16   how you do your alcohol protocols?

17   A           Uh-huh.

18   Q           That the vital signs and, then, you have a

19   number rating, and all those type of things, the

20   mechanics of actually performing that?

21   A           There is no policies and procedures through

22   the ODRC or through NCCHC that distributes the

23   difference between Benzos, cocaine, heroin, PCP,

24   krokodil because the symptoms are all the same, as

25   you know.




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 1   Q        Uh-huh.

 2   A        The symptoms withdrawing from -- the nausea,

 3   the vomiting, the abdominal pain are symptoms with a

 4   wide range of abuse of medication.      So, myself, along

 5   with my medical staff, would never be able to tell if

 6   someone is coming off of Benzos, if they're not known

 7   that they're taking Benzos.

 8   Q        Okay.

 9   A        No one, professionally, is going to be able

10   to unless you're doing a urine drug screen on them;

11   let's be clear on that.    There's no professional that

12   would be able to tell if someone is coming off of

13   Benzos, compared to cocaine, compared to any other

14   stimulants unless you do a drug screen.

15            In the emergency room -- trained in the

16   emergency room, if somebody comes in here, and I

17   didn't know, I would do a urine drug screen, and,

18   then, I would know what they're coming off of.       And

19   I'd say, "Oh, there's Benzos in his urine; he's

20   withdrawing off of Benzos."      Or there's PCP; there's

21   cocaine; there's heroin.

22            There's a 12 drug panel screen; that's what

23   they're for is to see what they're coming off of.

24   But the withdrawal off of these Benzos and all these

25   medications are pretty much similar.      And unless you




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 1   do a urine drug screen on everybody, you would never

 2   know.

 3   Q        Okay.

 4   A        So, for somebody to say they're just coming

 5   off of Benzos, a medical assistant or a professional

 6   physician would never know unless they're told

 7   they're coming off of the medication.

 8   Q        All right.     So, I want to make sure I have

 9   an understanding:    To your knowledge, is there a

10   urine drug screen upon the entrance into the jail?

11   A        No.     Just when they're court ordered.

12   Q        Okay.    If he was on a probation violation,

13   would those drug screens come over to the medical

14   department?

15   A        No.     That's stuck with the courts.     They're

16   not given to medical.

17   Q        You're not given those?     Okay.   Now, you've

18   indicated that no medical professional could

19   recognize --

20   A        The inmates -- when they violate a probation

21   violation, probation is the only one that gets that.

22   The sheriff's department and the medical department

23   have no idea.    They just know that they're booked in

24   on a probation violation, and that's it.     We're not

25   privileged to the drug screen from probation.




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 1   Q        So, when you indicate that no medical

 2   professional could recognize a withdrawal from a

 3   Benzo, specifically Xanax, from an opiate or a wide

 4   range of other drugs; is that correct?

 5   A        Without doing a urine drug screen.

 6   Q        Without doing a urine drug screen.         But they

 7   can recognize that you're going through a withdrawal?

 8   A        Correct.

 9   Q        So, it would be your expectation that if --

10   A        And everybody's range is different.         I mean,

11   Benzos are a different withdrawal than cocaine than

12   PCP than heroin.

13   Q        Okay.     Explain that to me when you say that

14   Benzo withdrawal is different than a cocaine

15   withdrawal.

16   A        What would you like to know?

17   Q        Well, how are they different?

18   A        Someone -- there's three phases of Benzo

19   withdrawal.   There's the acute phase where you're

20   going to go through the withdrawal symptoms between

21   the first two to four days.

22   Q        Okay.

23   A        And, then, phase two is up from four days

24   all the way up to two weeks.     And the long-term

25   effect of Benzo withdrawal could last up to a year.




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 1   The more you use, of course, the longer the

 2   withdrawal.

 3   Q        Okay.   But the symptoms would be similar in

 4   all of them; is that correct?

 5   A        Correct.

 6   Q        Okay.   But, the manifestation of the

 7   symptoms --

 8   A        Depends on how long you're taking them for.

 9   If someone is taking it for a month, compared to the

10   guy that's been on them for three years, 10 years is

11   totally different.

12   Q        Okay.   An opiate, how does an opiate

13   manifest in withdrawal?

14   A        Like, which one, would you say?

15   Q        Cocaine.

16   A        Cocaine has a short half life.    Once again,

17   depends on how long they've been using it and abusing

18   it, the medication.    If it's a once a week, weekend

19   guy, their symptoms would be a lot acute -- acuter

20   than the long-term effect of somebody using it on a

21   daily basis.

22   Q        Okay.   What you just stated to me about the

23   time of manifestation of, let's say, a Xanax

24   withdrawal, would your medical staff know that?

25   A        Know, what?




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 1   Q        The information you just gave to me about

 2   stage one, stage two, stage three?

 3   A        Probably not.

 4            MR. RUCKER:     Let me hand you what we'll mark

 5   as Exhibit 5.

 6            (Whereupon, Plaintiff's Exhibit No. 5 was

 7   marked for identification by the court reporter.)

 8   A        Okay.

 9   Q        Okay.   Are you familiar with this policy?

10   A        Yes.

11   Q        Did you devise this policy?

12   A        Yes, with Carla Oles.

13   Q        And who is Carla Oles?

14   A        The LPN at the county.

15   Q        Was she at County in 2014?

16   A        Yes.    I believe so.

17   Q        But you're not sure?

18   A        She's been with me forever.

19   Q        Is she still with you?

20   A        Yes.

21   Q        Okay.   And where does she work now?      In your

22   private practice or at the correctional facility?

23   A        At the correctional facility.

24   Q        And is that where she reports to, the jail?

25   A        Yes.




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 1   Q           Okay.     And how long has she been reporting

 2   to the jail?

 3   A           Since 2001.

 4   Q           Does she do shift work?

 5   A           Uh-huh.     Yes.

 6   Q           And her name is Carla --

 7   A           Oles.

 8   Q           -- Oles?     So, I should be able to find her

 9   on the shift schedules?

10   A           (Witness nods head affirmatively.)

11               MS. HOHENBERGER:     Yes?   You have to answer

12   out loud.

13   A           Yes.

14   Q           So, if I review the shift schedules and her

15   name does not appear, would I be correct in presuming

16   that she did not work on the shift schedule?

17   A           Yes.

18               MS. HOHENBERGER:     Note my objection to the

19   time frame.

20   Q           In 2014, if I search the shift schedules --

21               MS. HOHENBERGER:     Of the ones you have?

22   Q           Of the ones I have.     It would not be

23   incorrect for me to presume that she was not working

24   in the shift?

25   A           Carla has been with me since 2011 till the




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 1   present.     There was a short period where she left and

 2   came back.

 3               MS. HOHENBERGER:     2001?    I'm sorry.

 4   A           I don't know, 2001.     Whenever I obtained a

 5   contract, she's been with me ever since.          There's a

 6   short period of time, I don't know the dates, but

 7   payroll or whatever accounts you have, will say if

 8   she was there or not.

 9   Q           Okay.     If you look at Exhibit 5, it states,

10   "Inmates must show these signs and symptoms before

11   being placed on medications, and you must get an

12   order from Dr. Malvasi."

13               And those -- you say, "Not everyone will

14   experience withdrawal symptoms.          Must use CIWA," and

15   I presume that's for alcohol withdrawal?

16   A           Uh-huh.     Yes.

17   Q           Score sheet or COWS, which is for opiate

18   score sheet --

19   A           Correct.

20   Q           -- isn't that correct?       Now, you're

21   indicating that Benzos would fall under the COWS --

22   A           Just the symptoms.

23   Q           Just the symptoms.

24   A           Symptoms.     Because there's no report for

25   Benzos, so, we just use the restlessness, the -- just




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 1   whatever is on the sheet of the withdrawal protocol.

 2   Q        Okay.   And you state nausea and vomiting,

 3   anxiety, tremors and restlessness as those are

 4   symptoms; is that correct?

 5   A        Some of the common ones are listed.

 6   Q        Hallucinations and delusions, rapid heart

 7   rate, dilated pupils, sweating, shakiness, fatigue,

 8   those things -- rapid heart rate, would they have to

 9   take vital signs in order to determine that?

10   A        Yes.

11   Q        Nausea, vomiting, restlessness,

12   hallucinations and delusions, is that something that

13   would come from personal observation?

14   A        Yes.

15   Q        If they witness these withdrawal symptoms,

16   what would be your expectation that they would do,

17   your medical staff would do?

18   A        Continue to evaluate them.

19   Q        Okay.   And exactly what does that mean when

20   you say "continue to evaluate them"?      What other

21   evaluation would they do?

22   A        Just evaluate their -- for their symptoms of

23   what they're going through.      And just to --

24   Q        Okay.   If they're -- I'm sorry.      I don't

25   want to over speak you.




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 1   A        Just to continue to observe for their

 2   withdrawal symptoms.

 3   Q        Okay.     So, if an inmate was nauseous and

 4   vomiting and restless and hallucinating and having

 5   delusions, rapid heart rate, it would be your

 6   expectation that they would just, what, watch them?

 7   A        See if they fit into the alcohol or the

 8   opiate protocols, doing the evaluation, and if they

 9   do, try to find out if they're coming off of any

10   medication or drugs or alcohol.

11   Q        Okay.     And --

12   A        Because a lot of times, they don't let us

13   know if they're taking medication that they're not

14   prescribed or if they're taking -- they're not taking

15   medication that they're supposed to be taking or if

16   they're drinking excessive an alcohol.

17   Q        Okay.     Do you have the ability to take a

18   urine test at the correctional facility?

19   A        A urine test?

20   Q        Uh-huh.

21   A        Yes.

22   Q        And I believe you previously testified that

23   a urine test would be able to tell you if they were

24   on Benzos or opiates; is that correct?

25   A        Yes.




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 1   Q           Would it ever be your expectation that if

 2   your staff witnessed an inmate exhibiting these

 3   symptoms that they would give a urine test?

 4   A           We do.

 5   Q           You do?

 6   A           (Witness nods head affirmatively.)

 7   Q           And is that your expectation that -- what

 8   they would do if they witnessed these symptoms?

 9   A           Well, they do.     We do when they deem

10   necessary.

11   Q           When they deem necessary?

12   A           Uh-huh.     Yes.

13   Q           So, that would be their judgment decision?

14   A           Their judgment, or if they call me, I let

15   them know to do a drug screen to see if anything

16   shows up on it.

17   Q           Okay.     But it's up to them whether or not to

18   call you?

19   A           It's up to them.

20   Q           And is that part of their training to make

21   that judgment decision?

22   A           They're told if they ever need to call me,

23   to call me.

24   Q           Okay.

25   A           So, yes, it's part of their training to call




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 1   me at any time.

 2   Q           Okay.   But, then, it's also part of their

 3   training to call you only when they think they need

 4   to call you; is that correct?

 5               MS. HOHENBERGER:     Objection.

 6   A           I don't know.    I don't know the answer to

 7   that.

 8   Q           Okay.   There is no set criteria that says,

 9   "if you witness these symptoms, call me"?

10   A           They're trained whenever in doubt to call.

11   Q           Okay.   But if they're not in doubt, they

12   don't have to call; is that correct?

13   A           Whenever in doubt call.

14   Q           Okay, Doctor.    So, if a medical assistant

15   witnesses these withdrawal symptoms and decides, "no

16   big deal," they don't have to call you; is that

17   correct?

18   A           Correct.

19   Q           Okay.   Thank you.

20               You were talking about protocols.     What is

21   the protocol for a Xanax withdrawal?

22   A           To call me.

23   Q           To call you.

24   A           If they know they're on Xanax.

25   Q           Okay.   If they know they're on Xanax and




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 1   they call you, what action do you take?

 2   A        Depends on how much they're on, what kind

 3   they're on, how long they've been on it, we wean them

 4   off of them.

 5   Q        Okay.

 6   A        Then, they're put on my list to see and

 7   evaluate a substitute.

 8   Q        And is that what you've instructed them do?

 9   A        Yes.

10   Q        So, if they don't know that it's Xanax

11   withdrawal --

12   A        Then, we don't put them on anything to

13   withdraw from Xanax.

14   Q        Okay.   What would be your protocol?

15   A        We would need to know first.

16   Q        Okay.   And if the inmate is not able to tell

17   you, then, what would you do?

18   A        That's all on an individual basis.

19   Q        If this individual is not able to tell you

20   because he's delusional and hallucinating, and he's

21   exhibiting these symptoms, you would agree that --

22            MR. RUCKER:     Strike that.

23   Q        If an inmate is delusional, hallucinating,

24   throwing up and having seizures, you would agree that

25   seizures are a life-threatening condition; is that




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 1   correct?

 2   A           No.

 3   Q           Oh, you don't?     It can be?

 4   A           Can be.

 5   Q           They can be?

 6   A           But not every seizure is life threatening.

 7   Q           Okay.     But they can be?

 8   A           Yeah.     Usually, that particular individual

 9   we'd send to the emergency room.

10   Q           Are you qualified to diagnose whether or not

11   a seizure is going to be life threatening or not?

12   A           Yes, I think I am.

13   Q           Are medical assistants able to diagnose

14   whether or not a seizure is going to be life

15   threatening or not?

16   A           They're not allowed to diagnose anything.

17   There's no diagnostic differential in the medical

18   assistant or LPN or RN.

19   Q           Okay.     So, then, it's correct that they

20   can't diagnose whether or not it's a serious medical

21   condition?

22   A           Correct.

23   Q           But they recognize that seizures can be a

24   serious medical condition?

25   A           Yes.




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 1   Q           That should be reported to a doctor --

 2   A           Yes.

 3   Q           -- immediately; is that correct?

 4   A           Reported to me, yes.

 5   Q           Immediately, correct?

 6   A           Yes.

 7   Q           Have they been trained to do that?

 8   A           They do every week.

 9   Q           Every week?

10   A           There's not a week that goes by we don't

11   have somebody with a seizure.

12   Q           And when they call you indicating that

13   someone has a seizure, what is it that -- action do

14   you take?

15   A           Well, by then, they let me know how long the

16   seizure has been, if they're still seizing.       If

17   they're still seizing, we send them out.       Usually it

18   will be somebody that comes in and doesn't tell us

19   that they're on seizure medication and doesn't tell

20   the officers that they take seizure medication.

21   Then, we place them on their -- usually place them on

22   their medication that day or give it to them at that

23   time and keep them under medical observation.

24               MR. RUCKER:   Okay.    Let me show you what we

25   will mark as Exhibit 6.




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 1               (Whereupon, Plaintiff's Exhibit Nos. 6 and 7

 2   were marked for identification by the court

 3   reporter.)

 4   Q           Doctor, I kind of did that backwards, but if

 5   you look at 7, is this what you were referring to

 6   when you spoke that Benzos and opiates would be

 7   evaluated under the same withdrawal guidelines?

 8   A           The symptoms.

 9   Q           Symptoms.   Okay.   So, when you say

10   "symptoms," you're not referring -- well, you will be

11   referring to this sheet just as far as the bottom

12   where it says signs and symptoms?

13   A           Just the symptoms, yeah.

14   Q           When it says symptomatic protocol, what does

15   that mean?

16   A           If there's nausea, vomiting, you can give

17   them the Maalox.     If they have diarrhea, give them

18   Imodium.     If they have arthralgias/myalgias, give

19   them Tylenol or Motrin.

20   Q           Would that also refer to Benzos, or is that

21   strictly related to opiates?

22   A           That's strictly related to opiates.

23   Q           Okay.   Is there a symptomatic protocol for

24   Benzos?

25   A           No.




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 1   Q        When it talks about medications, Catapres,

 2   that's specifically limited to opiates?

 3   A        Correct.

 4   Q        So, where it says, right above there, "COWS:

 5   Do assessment score sheet initially," does that

 6   section also deal strictly with opiates?

 7   A        Yes.

 8   Q        "Vital signs:     Do every shift for five days

 9   or until --" what's WNL?

10   A        Within normal limits.

11   Q        For two consecutive days?

12   A        Yes.

13   Q        Now, is that just for opiates?

14   A        Everything on this page is just opiates

15   except the symptoms.

16   Q        Okay.   And looking at Exhibit 6, the

17   withdrawal scale, none of this applies to Benzos; is

18   that correct?

19   A        Yes.

20            (Whereupon, Plaintiff's Exhibit No. 8 was

21   marked for identification by the court reporter.)

22   Q        Giving you what's been marked as Exhibit No.

23   8, would I be correct in stating that there's nothing

24   on this exhibit which deals with opiate withdrawal

25   protocol and alcohol withdrawal protocol, that would




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 1   apply to Benzos; is that correct?

 2   A           Yes.

 3   Q           What tasks do you delegate to the medical

 4   assistants specifically?

 5   A           Could you be more clear?

 6   Q           Okay.   According to the Ohio Administrative

 7   Code, as a physician, you're only allowed to delegate

 8   certain tasks to unlicensed individuals; is that

 9   correct?    If you know.

10   A           I don't know.

11   Q           You don't know?     Okay.   Are you aware of the

12   tasks that cannot --

13               MR. RUCKER:     Strike that.

14   Q           Are you aware of the standards for

15   delegation to unlicensed individuals?

16   A           No.

17               MS. HOHENBERGER:     Objection.

18   Q           Are you aware of the standards for

19   delegation of tasks to licensed individuals?

20   A           No.

21   Q           You're familiar with the fact that inmates

22   in jail can experience serious medical conditions; is

23   that correct?

24   A           Yes.

25   Q           Do you believe that in Trumbull County jail




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 1   that you're able to handle serious medical

 2   conditions --

 3   A        No.

 4   Q        -- in inmates?     You're not?

 5   A        (Witness shakes head negatively.)

 6   Q        And why are you not?

 7   A        Well, it depends on what you deem serious.

 8   Q        Xanax withdrawal.

 9   A        We can handle them there.

10   Q        Okay.     And how would you handle a Xanax

11   withdrawal?

12   A        Just like I mentioned earlier, we wean them

13   off.

14   Q        Wean them off?

15   A        We do Xanax withdrawal; they're very common.

16   Q        They're very common?

17   A        Just like alcohol withdrawal is very common.

18   This is a correctional setting, as you know.        There's

19   338 inmates there on a regular basis.     So, we're

20   pretty much equipped to handle any kind of

21   withdrawal.     And we don't do cardiac surgery there.

22   Those guys go to the hospital, and, you know, those

23   are what we deem to be a medical --

24   Q        Are you qualified to do cardiac surgery?

25   A        That's why we send them to the hospital.




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 1   Q         Okay.    Thank you.

 2   A         We get babies that get delivered there too.

 3   We send them to the hospital too.     We get mothers

 4   withdrawing off of heroin that are pregnant, on a

 5   regular basis.     It's a jail.

 6   Q         So, you handle a wide variety?

 7   A         Ninety percent of the people in there are on

 8   drugs.

 9   Q         How often do you have contact with the

10   medical assistants in the Trumbull County jail when

11   you're not on-site?

12   A         By phone or --

13   Q         However you contact with them --

14   A         On a regular basis daily.    And, then, on the

15   phone probably a minimum of five to 15 times a day.

16   Q         A day.    But you do not stop in to Trumbull

17   County jail every day?

18   A         I told you that earlier.    I stop in there

19   every day.

20   Q         Oh, okay.

21   A         Yeah, sometimes five, six, seven, eight,

22   nine, 10 times a week.     There's times I leave, and

23   two hours later, I'm back because of a fight.

24   Q         Okay.    Do you have a method by which you

25   assess the efficiency --




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 1             MR. RUCKER:   Let me strike that.

 2   Q         Do you have a quality assurance program that

 3   evaluates your staff?

 4   A         We have monthly meetings.

 5   Q         Okay.

 6   A         That are done through -- to evaluate

 7   everybody that, to any questions, comments, concerns

 8   that they're having throughout the medical department

 9   or the staff at the sheriff's department.

10   Q         Do you actually evaluate their performance?

11   A         There's a performance evaluation on a yearly

12   basis.

13   Q         And who does that?

14   A         I evaluate them.

15   Q         Okay.   And what is your basis of evaluation?

16   A         Just to watch them do EKGs, take vital

17   signs, how they react to, sometimes, medical

18   emergencies.

19   Q         Do you personally observe them during

20   medical emergencies?

21   A         A lot of times I do.

22   Q         Would you -- medical assistants are not

23   authorized to administer controlled substances; is

24   that correct?

25   A         Under my direction, they are.




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 1   Q          Do you have to be on-site to do that?

 2   A          No.

 3   Q          Do they have to have supervision to do that?

 4   A          No.

 5   Q          They are not required to have supervision?

 6   A          No.

 7   Q          How is an inmate weaned off of Xanax?    What

 8   is the actual procedure for that?

 9   A          It's all on an individual basis.

10   Q          Okay.   Well, is that something you just give

11   them a lower dosage than what they're normally

12   taking?

13   A          Yes, over an extended period of time.

14   Q          Even if that original dosage was prescribed

15   by a medical doctor?

16   A          I'm not sure if I understand what you're --

17   Q          If an inmate comes into the jail and he's

18   been prescribed Xanax for depression or anxiety --

19   A          Okay.

20   Q          -- for whatever reason Xanax are

21   prescribed --

22   A          Okay.

23   Q          -- and he's having a withdrawal from not

24   having Xanax --

25   A          Okay.




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 1   Q        -- would you still wean him off of it?

 2   A        Yes.    And he notified us that he was on it?

 3   Q        No, he did not notify you that he was on it.

 4   A        Oh, he didn't notify us?

 5   Q        Yes.

 6   A        And, then, we found out?

 7   Q        Then, you found out.

 8   A        Yes.

 9   Q        You would still wean him off of it?

10   A        We even wean off the ones that tell us a

11   couple days later that they get them from a friend or

12   they buy them off the streets.

13   Q        Okay.   So, it really --

14   A        That's the one that we do a urine drug

15   screen on to verify it and, then, wean them off.

16   Q        Okay.   So, it doesn't really matter if they

17   are prescribed or not prescribed?    You would --

18   A        -- wean them off.

19   Q        Your procedure would be to wean them off?

20   A        (Witness nods head affirmatively.)

21   Q        Would you ever contact a family member to

22   find out if it was prescribed?

23   A        We usually just verify through the pharmacy

24   or the doctor.   They sign a release and, then, the

25   medical assistants call the pharmacy or the primary




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 1   caregiver to find out what dose they're.          Or family

 2   members, a lot of times, just bring them in.

 3   Q           Okay.     Doctor, can you tell me what is

 4   Effexor?

 5   A           It's used for anxiety, depression, an

 6   antidepressant, anxiety.

 7   Q           Is that a proper substitute -- Effexor is

 8   not a Benzo; is that correct?

 9   A           No.

10   Q           Is Effexor a proper substitute for a Benzo

11   addiction?

12   A           No.

13   Q           Doctor, what would be the procedure if you

14   had prescribed Effexor for a patient and for several

15   days he did not get that medication?          What would you

16   expect your medical assistants to do?

17               MS. HOHENBERGER:     Objection.

18   A           If I prescribed it?

19   Q           Yes.

20   A           Offer it to the individual, and, you know,

21   on a regular basis.       Pill call is twice a day.     So,

22   they announce pill call.       They come up and get their

23   medication, mornings and night.

24   Q           Pardon?

25   A           A.m. and p.m.




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 1   Q        But if he did not come up and get his

 2   medication, what would be your expectation that your

 3   medical assistants would do?

 4   A        They're just there to dispense medications.

 5   The staff of the sheriff's department are the ones

 6   that announce pill call.    And the inmates get up and

 7   line up at the door, for security reasons that they

 8   stay at the door.    My medical staff is not allowed

 9   into the holding pods or the cells when the inmates

10   are out of their rooms.

11   Q        Okay.   Would you agree that failure to take

12   a medication can create, or could create, a serious

13   medical condition?

14   A        Through our policies and procedures, our

15   staff is there to provide medical medication to the

16   individual inmates, and it's their responsibility to

17   get up when pill call is called.

18   Q        So, if they don't get up and if your medical

19   staff recognizes that those people are not appearing

20   in order to take their medication, would you have an

21   expectation that they would report that to you?

22   A        Well, they either get a refusal or a sign

23   from the individual where they're either a no show.

24   Q        Okay.   And if they're a no show, would it be

25   your expectation that they --




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 1   A           Well -- go ahead.

 2   Q           That they can continue to be a no show

 3   without you being notified?

 4   A           Correct.

 5   Q           You would expect to be notified?

 6   A           It happens on a regular basis that inmates,

 7   for one reason or another, want to sleep in, don't

 8   want to take their medication when they're in, pissed

 9   off at staff or being in jail and won't come to

10   medical.     It's very common.      We cannot force

11   medication on them.     All we are there is to provide

12   what medication you're on.       It's your responsibility

13   to get up when pill call is announced, to come to the

14   pill call window and obtain your medication.

15               My staff at no time is allowed to enter into

16   a pod with a room full of inmates, for security

17   reasons.     So, to answer your question, yes, it's

18   their responsibility to get up when pill call is

19   announced.     And a lot of times, if they don't show

20   up, it's their responsibility to make sure that they

21   come to the pill call.

22   Q           Okay.   So, narrowing that down is if they

23   don't show up, then, it's on them --

24   A           It's on them.

25   Q           -- the inmate?




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 1   A           It's on the inmates.

 2   Q           Regardless of the consequences of them

 3   missing that pill call?

 4   A           Well, they'll try to educate them if they

 5   miss one or two.     They'll say, "Hey, listen, you need

 6   to get up.    You need to start taking your medication

 7   or have somebody get you up."       But it's not our

 8   policies and procedures to go door to door making

 9   sure that they get up to get their drugs.

10   Q           Okay.

11   A           They're grown adults.

12   Q           Do you take into consideration that they may

13   be sick, or they may be delusional, or they may be

14   going through withdrawal that that can affect whether

15   or not they're coming up to get their medication?

16   A           That would be reported by the staff if that

17   happens.

18   Q           Okay.   But, ultimately, it is the medical

19   department's responsibility to handle the care and

20   treatment -- the medical care and treatment of the

21   inmates; is that correct?

22   A           Provide medical care and treatment.

23   Q           Okay.   Doctor, have you had an opportunity

24   to review the medical records of Lewis -- Inmate

25   Lewis Cairns, the subject that brings us here today?




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 1   A        Yes.

 2   Q        And when did you have the opportunity to

 3   review that?

 4   A        About a year ago.

 5   Q        Okay.     And did you make an assessment as to

 6   the standard of care that he received?

 7            MS. HOHENBERGER:     Objection.

 8   Q        From your medical staff?

 9   A        What do you mean?

10   Q        Were you pleased with the standard of care

11   he received from your medical staff?

12   A        Yes.

13   Q        Okay.     And you believe that they followed

14   all appropriate protocols?

15   A        Yes.

16   Q        When an inmate is treated, or when an inmate

17   is brought into the medical hold 3A -- is that

18   medical hold?

19   A        Uh-huh.

20   Q        And why are inmates brought to the 3A?

21   A        Well, that's medical lockdown where they

22   keep the suicide watch and the ones for close

23   observation.

24   Q        Okay.     And when an inmate is in 3A, are they

25   subject to increased observation by the medical




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 1   staff?

 2   A           No.

 3   Q           They are not?

 4   A           Huh-uh.

 5   Q           Who observes them?

 6   A           The sheriff's department.

 7   Q           The sheriff's department?

 8   A           The COs.

 9   Q           And if the CO sees something unusual or

10   something that causes him concern, would he report

11   that to the medical department?

12   A           Yes.

13               MS. HOHENBERGER:     Objection.

14   Q           And would that be noted by the medical

15   department?

16   A           Our policies show that that's what should be

17   done.

18   Q           That's what should be done?       And where would

19   that be noted?

20   A           In the medical chart.

21   Q           In the inmate's medical chart?

22   A           Yes.

23   Q           Should it also be noted on the shift

24   reports?

25   A           Occasionally.




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 1   Q           What determines whether it is noted on the

 2   shift report or not?

 3   A           It depends on if they need to be on close

 4   observation with, like, the alcohol withdrawal, if

 5   somebody is on the alcohol withdrawal, that they're

 6   put on the shift report that that next medical

 7   assistant needs to continue to do the withdrawal

 8   protocol.

 9   Q           Okay.   Would that be true for any

10   withdrawals, suspected withdrawal?

11   A           No.

12   Q           Just alcohol?

13   A           Whatever they deem that they needed to be

14   continued to be evaluated on.     That would be based on

15   what the medical assistant's evaluation would be, to

16   the next medical assistant.

17   Q           Okay.   So, if a jail corrections officer

18   brought an inmate up to 3A and advised the medical

19   department that they had taken an inmate up to 3A and

20   that they believed that he was going through

21   withdrawal, would it be your expectation that they

22   would increase their observance of that individual,

23   your medical department?

24   A           Are you talking about a certain particular

25   case, or is this --




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 1   Q        Well, if that will make it easier, then --

 2   A        Yes, I think it would.

 3   Q        Okay.    You would agree that the standard of

 4   medical care given to an inmate is the same standard

 5   of medical care that would be expected for a private

 6   citizen coming to your private practice?

 7            MS. HOHENBERGER:    Objection.

 8   Q        Would you agree with that?

 9            MS. HOHENBERGER:    Objection.

10   A        Yes.

11   Q        You would agree that just because they're

12   prisoners, they shouldn't be treated any less?

13   A        And they're not.

14   Q        In your experience as a physician, have you

15   ever seen patients suffering from seizures from an

16   unknown source?

17   A        Yes.

18   Q        And what action did you take?

19   A        It all depends.

20   Q        Is a urine test, as stated earlier, is that

21   one of the things you could do?

22   A        Well, is this acutely or -- I mean, if you

23   could give me a scenario.   I mean, I think all

24   scenarios are different.

25   Q        Someone comes into your office or into the




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 1   emergency room --

 2   A           Okay.

 3   Q           -- they're clearly having seizures.

 4   A           With a history of seizures?

 5   Q           They just walk into the emergency room, and

 6   you don't have a history on them.          They're having a

 7   seizure.    What action would you take?

 8   A           A CAT scan of their head.

 9   Q           Okay.

10   A           And medication to help them with their

11   seizures.

12   Q           Okay.     And would you take a urine test at

13   some point to see --

14   A           Yes.

15   Q           And when would you take the urine test?

16   Would that be before the CAT scan or after the CAT

17   scan?

18   A           Before.

19   Q           Before the CAT scan.     Okay.    Have you

20   experienced more --

21               MR. RUCKER:     Strike that.

22   Q           You've experienced patients who have had

23   Benzo withdrawals before, correct?

24   A           Yes.

25   Q           A lot of them?




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 1   A          What do you consider a lot?

 2   Q          More than 100?

 3   A          In my private practice or --

 4   Q          Period.     Either your private or your

 5   correction?

 6   A          Probably not 100.

 7   Q          But a significant amount?

 8   A          (Witness nods head affirmatively.)

 9              MS. HOHENBERGER:     Yes?

10   A          Yes.

11   Q          Xanax is addictive; isn't it?

12   A          Could be.

13   Q          It could be?     If you take Xanax for over a

14   long period of time, is it more likely to be

15   addictive?

16   A          Yes.

17   Q          What medical conditions does Xanax treat?

18   A          Anxiety, depression, social phobias.

19   Q          What could be the result of the discontinued

20   use of Xanax, unexpected discontinued use of Xanax?

21   A          Abdominal pain, confusion, electrical

22   pulses.

23   Q          Could it lead to seizures?

24   A          Yes, though it's dependent.      The higher the

25   dose, the more -- the lower the threshold of




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 1   seizures.

 2   Q           You say the higher the dose --

 3   A           If it's stopped abruptly, will lower -- I

 4   mean, will increase the seizure threshold.

 5   Q           Okay.   What would be the vital signs, if you

 6   can, what would be the vital signs of someone that

 7   was experiencing a Benzo withdrawal?       Would their

 8   blood pressure be up?

 9   A           Could be.

10   Q           Could be?    Okay.   And would their pulse be

11   up?

12   A           Could be.

13   Q           Could be.    Is there a range that would alert

14   you to the fact that they were going through

15   withdrawal?

16   A           No.

17   Q           Would you agree that untreated Xanax

18   withdrawal could be life threatening?

19   A           I've never seen it.

20   Q           Okay.   You've never seen, what?

21   A           A life --

22   Q           It would be life threatening?

23   A           Correct.    I've never seen a life-threatening

24   Benzo withdrawal.

25   Q           Have you seen a Benzo withdrawal that's a




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 1   serious medical condition?

 2   A         What do you deem to be a serious medical

 3   condition?

 4   Q         Well, as a doctor, what do you deem to be a

 5   serious medical condition?

 6   A         My medical decision-making and yours are

 7   probably different when it comes to --

 8   Q         I would certainly hope so.

 9   A         Yeah.   So, I'd have to probably really think

10   about what you're trying to ask for me to understand

11   what a serious medical condition is.

12   Q         Okay.   What would you define a serious

13   medical condition to be as a physician?

14   A         Trauma, a loss of a limb.

15   Q         You don't consider a seizure to be a serious

16   medical condition?

17   A         No.

18   Q         You don't?   Okay.     Are you familiar with the

19   Sonneberg case in Cuyahoga County?

20   A         No.

21             MS. HOHENBERGER:     Objection.

22   A         I have no idea who that is.

23   Q         You're not a music fan?

24   A         (Witness shakes head negatively.)

25   Q         You would agree that a seizure untreated




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 1   could lead to death; is that correct, some seizures?

 2   A           A seizure should always be treated.

 3   Q           You say it can always be treated?

 4   A           A seizure should always be treated.

 5   Q           Okay.   If it is not treated, it can lead to

 6   significant harm and a serious medical condition;

 7   would you agree with that?

 8   A           I'm going to say every seizure should be

 9   treated.

10   Q           Okay.   I would agree with you that every

11   seizure -- but if it's not treated, what could be the

12   result?

13   A           That's a hypothetical that I don't have the

14   answers for because I'm trained to treat them, not to

15   not treat them.

16   Q           Okay.   So, you clearly recognize the

17   necessity that a seizure be treated?

18   A           Yes.

19   Q           Are you familiar with the procedures of the

20   corrections officers at Trumbull County jail in

21   regards to their record keeping?

22   A           No.

23   Q           Okay.   Have you ever seen a narrative report

24   of a corrections officer in regards to an inmate

25   that's brought to the medical department?




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 1   A          Yes.

 2   Q          And are you familiar with the procedures and

 3   policies of the Trumbull County jail is that only

 4   factual information is to be put on the narrative

 5   report?

 6   A          No.

 7   Q          You're not?

 8   A          (Witness shakes head negatively.)

 9   Q          Do you have any reason to believe that if

10   the corrections officer did a narrative support -- a

11   report, that it would not be true?

12              MS. HOHENBERGER:     Objection.

13   A          I don't know that.

14              (Whereupon, Plaintiff's Exhibit No. 9 was

15   marked for identification by the court reporter.)

16              MS. HOHENBERGER:     I need to just note my

17   objection to the document that it was not a document

18   that was prepared by Dr. Malvasi nor is it a medical

19   department document.

20   Q          Okay.   Doctor, did you have a chance to

21   review Exhibit No. 9?

22   A          Yes.

23   Q          Okay.   In Exhibit No. 9, it outlines Inmate

24   Cairns' behavior at approximately 1350.      Would you

25   agree with that?




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 1               MS. HOHENBERGER:    I'm going to object

 2   because it talks about multiple times, but --

 3   Q           "Approximately at 1350, Inmate Cairns kept

 4   walking around the pod during lockdown."

 5   A           That's what it says.

 6   Q           They described his conduct as a confused

 7   look on his face, and approximately 20 minutes later,

 8   with the newspaper in his hands and walking around

 9   the day room, and he states that "I need to get my

10   son from upstairs."

11               Do you see that on there?

12   A           That's correct.

13   Q           Okay.   Ultimately it says that they took him

14   to 3A without incident.       3A is what you described as

15   medical hold; is that correct?

16   A           (Witness nods head affirmatively.)

17   Q           If an inmate is taken to 3A, would the

18   medical department be advised?

19   A           No, not always.

20   Q           Okay.   What determines whether or not they

21   are advised?

22   A           Depends on the officer.

23   Q           Okay.   Looking at Exhibit No. 9, do you have

24   any reason to not believe what's stated in this

25   exhibit?




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 1             MS. HOHENBERGER:      Objection.

 2   A         I have no idea.

 3   Q         But you have no concrete reason to question

 4   it one way or the other; is that correct?

 5             MS. HOHENBERGER:      Objection.

 6   A         I have no idea.    I wasn't there.       This isn't

 7   my report.

 8             MR. RUCKER:   Okay.     Number 10.

 9             (Whereupon, Plaintiff's Exhibit No. 10 was

10   marked for identification by the court reporter.)

11   Q         Okay.   You've had a chance to review --

12   A         Yes.

13   Q         -- Exhibit 10?

14   A         Yes.

15   Q         And this is a -- this is not a medical

16   department document; is that correct?

17   A         I've never seen this before.

18   Q         You've never seen it before?         Okay.   If you

19   note in the body of it, it's a memo 11/25/2014; do

20   you see that?

21   A         Yes.

22             MS. HOHENBERGER:      Objection.

23   Q         And in that document, it says, "Keep an eye

24   on Inmate Cairns in MSJ."    What is MSJ?

25   A         That's just a classification unit for




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 1   inmates.

 2   Q           When you say "classification," what is that

 3   classification?     What type of inmates are in MSJ?

 4   A           The nonviolent.

 5   Q           The nonviolent?    Okay?

 6   A           They can't house them with others.

 7   Q           Okay.   He says -- if further states, "He saw

 8   medical and is coming off of Xanax, 8 milligrams,

 9   four times a day."     Is that what that means?

10               MS. HOHENBERGER:    Objection.

11   A           That's what it says.

12   Q           That's what it says?       Okay.   "Medical stated

13   to just watch him for now."

14               If medical had stated that, would that be

15   recorded somewhere in medical records?

16               MS. HOHENBERGER:    Objection.

17   A           I mean, I've never seen this.        I find it

18   hard to believe that someone is coming off of Xanax,

19   8 milligrams, four times a day.

20   Q           Why would you find that hard to believe?

21   A           Because of the excessiveness of it.

22   Q           Okay.

23   A           That's 32 milligrams a day.        It's almost

24   nearly impossible.     I mean, that's me looking at it

25   today.     I've never seen it before, but there's no one




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 1   coming off of 32 milligrams of Xanax a day.

 2   Q           Okay.   If this inmate -- if Inmate Cairns

 3   was taken to medical and given this information, and

 4   they indicated that they should just watch him for

 5   now, would that be noted somewhere in medical

 6   records?

 7               MS. HOHENBERGER:    Objection.

 8   A           I'm not sure if I know the answer to that.

 9   Q           Well, medical records are to indicate the

10   progress or the condition of the inmate, right, or a

11   patient; is that correct?

12   A           Well, they're saying they brought him down

13   to medical.     If he was brought down, there should be

14   a record somewhere --

15   Q           Okay.

16   A           -- on who brought him down and the movement

17   of him.

18   Q           It says, "Inmate Cairns was moved to 3A for

19   possible detox."     If that was the true, should that

20   be noted in medical records somewhere?

21               MS. HOHENBERGER:    Objection.

22   A           This is an e-mail; this is an

23   interdepartmental e-mail.      This would have never been

24   received by medical.

25   Q           So, medical would have never seen this?




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 1   A         No, this is interdepartmental.

 2   Q         Okay.     Do you have any reason to question

 3   the accuracy of anything stated here?

 4             MS. HOHENBERGER:        Objection.

 5   A         Yes.

 6   Q         And what is it that you question?

 7   A         Someone coming off of such a high dose of

 8   Xanax.

 9   Q         Are you familiar with the shift reports?

10             MS. HOHENBERGER:        Of --

11   A         Of who?

12   Q         The medical department.

13   A         I'm familiar that they do shift reports.

14   Q         And what is the purpose of a shift report?

15   A         To let one medical assistant know to the

16   other what went on during their shift.

17             MR. RUCKER:     Okay.     Let me show you what

18   we'll mark as No. 11.

19             (Whereupon, Plaintiff's Exhibit No. 11 was

20   marked for identification by the court reporter.)

21   Q         Doctor, are you familiar having reviewed

22   Exhibit -- is it 11?

23   A         11.

24   Q         Are you familiar with that form?

25   A         No.




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 1   Q           Okay.    It's dated 11/25/2014, the time from

 2   6:00 to 2:00.       Is that 6:00 a.m. to 2:00 p.m.?

 3   A           Yes.

 4   Q           Does that represent the shift time?

 5   A           (Witness nods head affirmatively.)

 6               Yes.

 7               MS. HOHENBERGER:    I have a different one.

 8               MR. RUCKER:    Let me give you --

 9               MS. HOHENBERGER:    That's all right; I can

10   just look at this.       That's fine.    I wrote on the

11   bottom of that one, though.         Sorry.

12   Q           Are you familiar with the shift report

13   itself, not this specific one, but the use of shift

14   reports?

15   A           A communication base for the nurses, yes.

16   Q           Okay.    And if an inmate was brought down to

17   the medical department and the COs believed that it

18   was for some type of withdrawal, would you have

19   expected it to be on a shift report?

20               MS. HOHENBERGER:    Objection.

21   A           I can't answer that.

22   Q           Okay.    And why can't you answer that?

23   A           Because this is for the, like I said, the

24   nurses.    And if they deemed it was pertinent enough,

25   they would add it to the shift report.




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 1   Q        Okay.     And once again, that time is from

 2   6:00 to 2:00, and that represents the shift time; is

 3   that correct?

 4   A        I believe so.

 5            MR. RUCKER:     Okay.   Let me mark this as 12.

 6            (Whereupon, Plaintiff's Exhibit No. 12 was

 7   marked for identification by the court reporter.)

 8   Q        Doctor, have you had a chance to review

 9   Exhibit 12?

10   A        Yes.

11   Q        And that is a shift report dated 11/25/2014;

12   is that correct?

13   A        Yes.

14   Q        Indicating the time from 2:00 to 10:00, 2:00

15   p.m. to 10:00 p.m.?

16   A        Yes.

17   Q        Nurses Autumn and Bethany?

18   A        Correct.

19   Q        And in your review of this document, do you

20   see any mention of an Inmate Cairns being brought

21   down to the medical department?

22   A        No.

23            (Whereupon, Plaintiff's Exhibit No. 13 was

24   marked for identification by the court reporter.)

25   Q        Okay.     Doctor, have you had a chance to




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 1   review --

 2   A           Yes.

 3   Q           -- No. 13?    And it says inmate personal

 4   medication list.       And there it says "I," and there's

 5   a signature.       Whose signature would that be?

 6   A           I have no idea.

 7   Q           You have no idea?       Are you familiar with

 8   this form?

 9   A           Yes.

10   Q           Okay.    Is that -- would that be your

11   expectation that would be the inmate's signature,

12   or --

13   A           Yes.

14   Q           And it says date received, 11/19/14.        It

15   says, "name, dose and route of medication."         What is

16   that written in that column?

17   A           The Effexor, 75 milligrams, 83 of them.

18   Q           Is that what's written in there?

19   A           Yes.

20   Q           And would this be medication that is being

21   brought into the jail --

22   A           Yes.    Or picked up.

23   Q           Or picked up?

24   A           Yeah.

25   Q           And it says B B hospital.       What is the B --




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 1   is that "and B"?     Do you know what that notation is

 2   that's written under date and signature of inmate

 3   when medication is picked up?

 4   A          B and B hospital, 11/28/14?

 5   Q          Yes.    What does that B and B stand for?

 6   A          That he was bonded out, and he's in the

 7   hospital on 11/28 of '14.

 8              MR. RUCKER:    Okay.     Thank you, 14.

 9              (Whereupon, Plaintiff's Exhibit No. 14 was

10   marked for identification by the court reporter.)

11   Q          Have you had a chance to review that,

12   Doctor?

13   A          Yes.

14   Q          Okay.   Note that on -- this is a physicians

15   order form.    Can you tell me what that's used for?

16   A          Medications and orders.

17   Q          Okay.   And would I be correct in stating

18   that these are medications that you allow to be

19   administered to the inmate?

20              MS. HOHENBERGER:       Objection.

21   A          Those are medications that the inmate

22   brought in or was dispensed.

23   Q          Would you have to approve these because it

24   says physicians order form?

25   A          Yes.




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 1   Q        So, is that --

 2   A        I approved them.

 3   Q        You approved them?

 4   A        Uh-huh.

 5   Q        Would you order Effexor, or would you take

 6   what he already brought in?

 7   A        If he brought them in, we usually use what

 8   he has until he runs out.     Then, we order them in

 9   because usually there's a delay of 24 hours before we

10   get them in.

11   Q        Okay.     Relook at Exhibit 13, which was the

12   inmate personal medication list.

13   A        Yeah.

14   Q        Would you have used those --

15   A        The ones that were brought in?

16   Q        They were brought in?

17   A        If they were brought in on the 19th, if

18   that's the day he came in and he brought them in with

19   him, we would have used them on that date.

20            MR. RUCKER:      Okay.     Just mark this as

21   Plaintiff's Exhibit 15.

22            (Whereupon, Plaintiff's Exhibit No. 15 ws

23   marked for identification by the court reporter.)

24            MS. HOHENBERGER:         Please note my objection

25   to this document.    Again, it's a report not prepared




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 1   by Dr. Malvasi, or a medical document.

 2   Q           Okay.    Have you had a chance to review

 3   Exhibit 15?

 4   A           I've read it.

 5   Q           Okay.    And as noted by your Counsel, you did

 6   not prepare this form; is that correct?

 7   A           No.

 8   Q           Okay.

 9   A           It's the first time I've seen it.

10   Q           Note on 11/25/14 that this -- that Officer

11   Rick Nichols, who prepared this narrative supplement,

12   indicates that medical was notified that Inmate

13   Cairns was placed on the third floor and that he had

14   felt that he could be alcohol withdrawal, and he was

15   told that he was coming off of Xanax.

16               If -- if he did relay this to medical, would

17   you have an expectation that that would be noted

18   somewhere in a medical document or in the patient's

19   chart?

20   A           Well, he wrote this on the 28th, and you're

21   talking about something on the 25th that we're going

22   back to?

23   Q           Yes.

24   A           I have no idea.     I couldn't answer that.

25   Q           No.     If he did tell medical --




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 1   A           I have no idea if that's accurate or not.

 2   Q           Okay.   Well, I'm going to say:   If he did

 3   tell medical, is that the type of information that

 4   you would expect to be documented in medical records?

 5   A           Like I said, I don't know if this is

 6   accurate or --

 7   Q           Okay.   If it is accurate, presume it to be

 8   accurate.    Is that information that you would expect

 9   to be noted in medical records --

10   A           That he's coming off of alcohol withdrawal?

11   Q           That they felt that he was coming off of

12   alcohol or that he was told that he was coming off of

13   Xanax.

14   A           "Subject cannot remember if I was told

15   this --"

16   Q           Would you consider that, as a physician, to

17   be relevant medical information?

18   A           Yes.

19   Q           And you would expect relevant medical

20   information to be documented somewhere in medical

21   records; is that correct?

22   A           Part of his medical -- this should have been

23   part of his medical file, yeah.

24   Q           Okay.   On 11/27/14, it indicates that they

25   dealt again -- corrections officers dealt again with




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 1   Inmate Cairns in moving him to a cell that was clean,

 2   that indicates the inmate seemed to trash his cell

 3   with feces and urine.     "Medical was advised again of

 4   this subject's situation."

 5            If that was true, would you expect that

 6   information to be contained in medical records?

 7   A        I'm not sure if I have -- to answer that

 8   without knowing, without seeing the medical record.

 9   Q        Well, there is no medical record.      If there

10   is no medical record --

11   A        I mean, he's going back two and three days

12   later stating stuff that might have been or may not

13   have been done.   You're talking about something that

14   happened on the 25th, and he's recording it on the

15   28th, so I couldn't answer the question clearly if it

16   was -- if that information was relayed to medical or

17   not.

18   Q        Okay.    I'm not asking you to indicate if it

19   was related to medical or not.     I'm asking you if --

20   would that be considered relevant medical

21   information, that he trashed his cell with feces and

22   urine, bearing in mind that the day before they had

23   indicated that he had probably -- going through

24   withdrawal?

25            MS. HOHENBERGER:     And I'm going to object.




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 1   That's not one day before; that's 11/25.

 2   Q          The 25th.

 3   A          Yeah, that's hard for me to answer because

 4   that's a common occurrence for them to throw feces

 5   and urine and soil their pods on a regular basis, and

 6   medical does not know about it.

 7   Q          Okay.

 8   A          So, I can't answer if medical was notified

 9   or not.   I don't want to assume anything that I don't

10   know.

11   Q          Okay.     I'm not asking if they were -- that

12   they were notified.      I'm saying, if they were

13   notified --

14   A          That's a hypothetical.

15   Q          I know.     I know it's a hypothetical; I'm

16   allowed to ask hypotheticals.

17   A          I can't answer a hypothetical.

18   Q          You can't answer a hypothetical?

19   A          No, I cannot.     You want me to assume that

20   they knew that he was --

21   Q          No, I'm not asking you to assume.        I'm

22   asking you that if that is true, is that relevant

23   medical information that should be noted on record?

24   A          Not if someone is throwing -- trashing their

25   cell with feces and urine.




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 1   Q           You don't believe that to be relevant?

 2   A           That happens very common in a correctional

 3   setting.

 4   Q           Okay.

 5   A           Officers get thrown urine on them all the

 6   time, and we're not notified.       Inmates soil their

 7   cell, rip the sprinkler heads off the sprinkler

 8   systems, and we're not notified.

 9   Q           Okay.   But this inmate was already in

10   medical hold.

11   A           Medical hold is not in medical.     Medical

12   hold is -- the name medical hold is on the third

13   floor, but it's not a medical area.

14   Q           Okay.

15   A           Medical is down on the first floor.       There

16   is no medical observation up on three.       There is no

17   medical assistant staffed on the third floor as it

18   states here.

19   Q           Okay.   If there was an inmate who, from

20   11/25 on 11/27 and on 11/28 was manifesting medical

21   problems, would you expect that there would be more

22   than one instance on 11/28 of medical assistants

23   taking vital signs?

24               MS. HOHENBERGER:    Objection.

25   A           I'm not sure if I know the answer to that.




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 1   Q        Would you expect --

 2            MR. RUCKER:     Strike that.

 3   Q        When was the first time you were notified of

 4   a problem with Inmate Cairns?

 5   A        When they sent him out to the hospital.

 6   Q        On the 28th?

 7   A        Correct.

 8   Q        And prior to the 28th, you had no knowledge

 9   of him experiencing any medical problems?

10   A        None.

11   Q        No one called you?

12   A        No.     A lot of these abbreviations in here, I

13   don't understand either.    I'm not familiar with.

14   Q        You're not, what?

15   A        The abbreviations in this, I don't know --

16   have any idea what they mean.

17            MR. RUCKER:     Okay.   We will mark this as 16.

18            (Whereupon, a recess was taken, and

19   Plaintiff's Exhibit No. 16 was marked for

20   identification by the court reporter.)

21   Q        Doctor, have you had a chance to look at

22   Exhibit 16?

23   A        Yes.

24   Q        And could you tell what that -- what it is?

25   A        Sick call list.




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 1   Q           And does this list represent when you

 2   performed sick call between the dates of

 3   11/13/19/2014 to 12/9/2014?

 4   A           Correct.

 5   Q           It is comprised of three pages?

 6   A           What's that?

 7   Q           It's comprised of three pages?

 8               MS. HOHENBERGER:    Did you say 11/13/19 to

 9   11/13/14 --

10               MR. RUCKER:    11/13/2014 --

11               MS. HOHENBERGER:    Okay.

12               MR. RUCKER:    -- to 12/9/2014.

13               MS. HOHENBERGER:    Okay.

14   A           Yes.

15   Q           And the names have been -- the names of the

16   inmates that you saw are blacked out for purposes of

17   privacy; is that correct?

18   A           Yes.

19   Q           Okay.   Would I be correct in indicating that

20   from the period of 11/24/2014 to the period of

21   11/29/2014, you did not do any sick call; is that

22   correct?

23               MS. HOHENBERGER:    Can you say that again?

24   I'm sorry.

25   Q           For the period of -- it's the second page.




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 1   It indicates 11/24, 2014 --

 2   A           Correct.

 3   Q           -- and would that -- do these dates indicate

 4   the dates that you actually performed sick call?

 5   A           Yes.

 6   Q           And that bracket under the 11/24/2014, which

 7   has within it per Kara, per Kara and S. Bayer would

 8   be the inmates that you saw during that time period

 9   on 11/24/2014?

10   A           Yes.

11   Q           So, from the 25th, 26th, 27th and 28th of

12   November 2014, you did not perform sick call -- or

13   you did not see any patients in sick call; is that

14   correct?

15   A           There was nobody on the list at that time.

16   Q           So, no one presented Inmate Cairns to you to

17   be seen in sick call during the 25th, 26th, 27th or

18   28th of November 2014; is that correct?

19   A           No.

20   Q           It's not?

21   A           It's correct.

22   Q           Okay.   So, Inmate Cairns was not presented

23   to you by any of your medical staff to be seen on

24   sick call?

25   A           No.




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 1   Q          If he had been presented to you, you would

 2   have seen him; is that correct?

 3   A          His name would have been on the list to be

 4   seen.

 5   Q          And if his name had been on the list, you

 6   would have seen him?

 7   A          Yes.

 8   Q          Even if you had to come in --

 9   A          Yes.

10   Q          -- on a day that he might have been the only

11   inmate to be seen?

12   A          Yes.

13              MR. RUCKER:    We can go off the record for a

14   second.

15              (Whereupon, a recess was taken.)

16   Q          Doctor, you indicated that your first

17   contact in regard to Inmate Cairns was on the 28th;

18   is that correct?

19   A          Yes.

20   Q          And who contacted you?

21   A          I can't remember.

22   Q          Was it one of your medical staff?

23   A          Most likely.

24   Q          Most likely.    Okay.   And what was the extent

25   of your conversation?




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 1   A        That they were sending Inmate Cairns to the

 2   emergency room.

 3   Q        Did they give you his vital signs?

 4   A        I don't think so; I can't recall.

 5   Q        So, the medical staff made the decision to

 6   send him to the hospital?

 7   A        I believe so.

 8            MR. RUCKER:     Let me just talk to my client

 9   for a minute.

10            (Whereupon, a recess was taken.)

11            MR. RUCKER:     I have no further questions for

12   the Doctor.

13            MS. HOHENBERGER:     He will read.

14                                     SIGNATURE NOT WAIVED

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 8                   REPORTER'S CERTIFICATE

 9

10         I DO HEREBY CERTIFY that the above and foregoing

11   is a full, true, and correct transcript of all the

12   testimony introduced and proceedings had in the

13   taking of the within named deposition, as shown by

14   stenotype notes written by me, in the presence of the

15   witness, at the time the said deposition was being

16   taken.

17

18

19

20

21                                     Grace D'Andrea,
                                       Court Reporter
22

23

24

25




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 1   STATE OF OHIO        )
                          )           SS       CERTIFICATE
 2   MAHONING COUNTY      )

 3

 4        I, Grace D'Andrea, a Notary Public within and

 5   for the State of Ohio, duly commissioned and

 6   qualified, do hereby certify that the above named DR.

 7   PHILLIP MALVASI was by me first duly sworn to testify

 8   the truth, the whole truth, and nothing but the

 9   truth, and that the foregoing deposition was written

10   by me in stenotype in the presence of the witness,

11   and by me transcribed; that the transcript of HIS

12   testimony will be made available to said witness for

13   signature; that the said witness shall read said

14   transcript and affix HIS signature, at the end

15   thereof, and that the said deposition was taken

16   pursuant to agreement and at the time and place

17   therein specified.

18        I do further certify that I am not of counsel,

19   attorney or relative of either party or otherwise

20   interested in the event of this action or proceeding.

21        IN WITNESS WHEREOF, I have hereunto set my hand

22   and seal of office at Youngstown, Ohio this 16th day

23   of December, A.D., 2016.

24
                              GRACE D'ANDREA, NOTARY PUBLIC
25                            My Commission Expires 05/08/17




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 I, Dr. Phillip Malvasi, do verify that I have read
 this transcript consisting of 96 pages, taken on
 January 8, 2016, and that the questions and answers
 herein are true and correct with corrections as noted
 on the errata sheet.


                     -----------------------------------------
                     Dr. Phillip Malvasi

       Sworn to before me a Notary Public in and for the
State of ---------- , this ---------- day of ------------- 2016.



        --------------------------------------------------
        Notary Public in and for the
        State of ----------------.


   My commission expires          ----------------------.




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                   Dr. Phillip Malvasi

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